      Case 4:20-cv-00013-CDL-MSH Document 15 Filed 10/21/20 Page 1 of 1



                  IN THE UNITED STATES DISTRICT COURT
                   FOR THE MIDDLE DISTRICT OF GEORGIA
                            COLUMBUS DIVISION

GEORGE WALTER BREWSTER, III,          *

      Petitioner,                     *

vs.                                   *
                                                CASE NO. 4:20-CV-13 (CDL)
SHERIFF DONNA TOMPKINS,               *

      Respondent.                     *


                                 O R D E R

      This matter is before the Court pursuant to a Report and

Recommendation by the United States Magistrate Judge entered on

September 8, 2020. There was no objection to this Recommendation

as permitted by 28 U.S.C. § 636(b)(1). Therefore, the Court reviews

the Recommendation for clear error.          Finding no clear error, the

Court adopts the Recommendation of the Magistrate Judge and makes

it the order of this Court.

      IT IS SO ORDERED, this 21st day of October, 2020.

                                          S/Clay D. Land
                                          CLAY D. LAND
                                          U.S. DISTRICT COURT JUDGE
                                          MIDDLE DISTRICT OF GEORGIA
